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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                   AT COVINGTON

 NICHOLAS SANDMANN, by and                       :    CASE NO. 2:20-CV-00025-WOB-CJS
 through his parents and natural guardians,      :
 TED SANDMANN and JULIE                          :    Judge William O. Bertelsman
 SANDMANN,                                       :
                                                 :    Magistrate Judge Candace J. Smith
         Plaintiff,                              :
                                                 :
 v.                                              :
                                                 :
 ABC NEWS, INC., ABC NEWS                        :
 INTERACTIVE, INC., and THE WALT                 :
 DISNEY COMPANY,                                 :
                                                 :
         Defendants.
                                                 :

      DECLARATION CERTIFYING AUTHENTICITY OF DOMESTIC RECORDS OF
                    REGULARLY CONDUCTED ACTIVITY

       This declaration is given under the authority of 28 U.S.C. § 1746 and is intended as an
authentication of domestic records of regularly conducted activity pursuant to Federal Rules of
Evidence 803(6) & 902(11).

1.      My name is Tim Letbetter. I make this declaration on personal knowledge and am
        competent to testify to the facts stated herein.

2.      I am a Manager, Engineering Operations, WABC-TV. I supervise and coordinate
        logistics for news operations for WABC-TV. In this capacity, I serve as a custodian of
        records for WABC broadcasts.

3.      The video conventionally filed and attached to this declaration as Exhibit 3-A is a true
        and accurate copy of the ABC7 Eyewitness News story (the “ABC7 Story”) embedded in
        the article reproduced in Exhibit I of the Complaint in this Action (the “Third ABC
        Article”).

4.      The video conventionally filed and attached to this declaration as Exhibit 3-B is a true
        and accurate copy of the other video embedded in the Third ABC Article.

5.      The video conventionally filed and attached to this declaration as Exhibit 4-A is a true
        and accurate copy of the first video embedded in the article reproduced in Exhibit J of the
        Complaint in this Action (“the Fourth ABC Article”).



                                                 1
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                          EXHIBIT 3-A
                          (ABC7 Story)

            EXHIBIT 3-B
 (Video embedded in Third ABC Article)

                      EXHIBIT 4-A
                (First video embedded in
                  Fourth ABC Article)

                    EXHIBIT 4-B
              (Second video embedded in
                 Fourth ABC Article)




                       Filed Conventionally
